                              UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                               DOCKET NO. 3:93-cr-00236-MOC

 UNITED STATES OF AMERICA,                    )
                                              )
                                              )
                                              )
 Vs.                                          )                     ORDER
                                              )
 TIMOTHY YOUNG,                               )
                                              )
                  Defendant.                  )



         THIS MATTER is before the court on the government’s Motion for Remission. Having

considered the government’s motion and reviewed the pleadings, the court enters the following

Order.

                                         ORDER

         IT IS, THEREFORE, ORDERED that the government’s Motion for Remission (#125)

is GRANTED, and the unpaid remainder of defendant’s fine, assessment, or any interest

thereupon accrued is REMITTED.


 Signed: August 18, 2015




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